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 Payment History as of: Wednesday, February 28, 2024   BENEFIT PAYMENTS ON BEHALF OF:
                                                          RONNIE BLANCHARD              202259739 US
                                                             DOB: 10/15/1981            Age: 43

                                                           Pay   Pay
                            Date Issued   Draft Number    Amount Code        Vendor Name                         Pay Type       Dates of Service



INDEMNITY
Compensation
 Death Benefit               04/19/2022      0014232095   5,759.95   05         LACI BLANCHARD,                    C         03/26/22 to    05/13/22
 Death Benefit               05/24/2022      0014245618   2,703.60   05                                            BLANCHARD,03/26/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        06/02/22
 Death Benefit               02/08/2024      0014474891   3,904.48   05         LACI BLANCHARD,                    C         03/26/22 to    12/28/23
 Death Benefit               05/24/2022      0014245617   2,351.00   05         LACI BLANCHARD,                    C         05/14/22 to    06/02/22
 Death Benefit               05/26/2022      0014246706     822.85   05         LACI BLANCHARD,                    C         06/03/22 to    06/09/22
 Death Benefit               05/26/2022      0014246707     274.28   05                                            BLANCHARD,06/03/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        06/09/22
 Death Benefit               06/13/2022      0014252525   1,645.70   05         LACI BLANCHARD,                    C         06/10/22 to    06/23/22
 Death Benefit               06/13/2022      0014252526     548.56   05                                            BLANCHARD,06/10/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        06/23/22
 Death Benefit               06/16/2022      0014254424     822.85   05         LACI BLANCHARD,                    C         06/24/22 to    06/30/22
 Death Benefit               06/16/2022      0014254425     274.28   05                                            BLANCHARD,06/24/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        06/30/22
 Death Benefit               06/23/2022      0014256858     822.85   05         LACI BLANCHARD,                    C         07/01/22 to    07/07/22
 Death Benefit               06/23/2022      0014256859     274.28   05                                            BLANCHARD,07/01/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        07/07/22
 Death Benefit               06/30/2022      0014259285     822.85   05         LACI BLANCHARD,                    C         07/08/22 to    07/14/22
 Death Benefit               06/30/2022      0014259286     274.28   05                                            BLANCHARD,07/08/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        07/14/22
 Death Benefit               07/07/2022      0014261632     822.85   05         LACI BLANCHARD,                    C         07/15/22 to    07/21/22
 Death Benefit               07/07/2022      0014261633     274.28   05                                            BLANCHARD,07/15/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        07/21/22
 Death Benefit               07/14/2022      0014264080     822.85   05         LACI BLANCHARD,                    C         07/22/22 to    07/28/22
 Death Benefit               07/14/2022      0014264081     274.28   05                                            BLANCHARD,07/22/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        07/28/22
 Death Benefit               07/21/2022      0014266481     822.85   05         LACI BLANCHARD,                    C         07/29/22 to    08/04/22
 Death Benefit               07/21/2022      0014266482     274.28   05                                            BLANCHARD,07/29/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        08/04/22
 Death Benefit               07/28/2022      0014269211     822.85   05         LACI BLANCHARD,                    C         08/05/22 to    08/11/22
 Death Benefit               07/28/2022      0014269212     274.28   05                                            BLANCHARD,08/05/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        08/11/22
 Death Benefit               08/04/2022      0014272283     822.85   05         LACI BLANCHARD,                    C         08/12/22 to    08/18/22
 Death Benefit               08/04/2022      0014272284     274.28   05                                            BLANCHARD,08/12/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        08/18/22
 Death Benefit               08/11/2022      0014274568     822.85   05         LACI BLANCHARD,                    C         08/19/22 to    08/25/22
 Death Benefit               08/11/2022      0014274569     274.28   05                                            BLANCHARD,08/19/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        08/25/22
 Death Benefit               08/18/2022      0014277597     822.85   05         LACI BLANCHARD,                    C         08/26/22 to    09/01/22
 Death Benefit               08/18/2022      0014277598     274.28   05                                            BLANCHARD,08/26/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        09/01/22
 Death Benefit               08/25/2022      0014280207     822.85   05         LACI BLANCHARD,                    C         09/02/22 to    09/08/22
 Death Benefit               08/25/2022      0014280208     274.28   05                                            BLANCHARD,09/02/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        09/08/22
 Death Benefit               09/01/2022      0014284081     822.85   05         LACI BLANCHARD,                    C         09/09/22 to    09/15/22
 Death Benefit               09/01/2022      0014284082     274.28   05                                            BLANCHARD,09/09/22 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                        09/15/22
 Death Benefit               09/08/2022      0014286370     822.85   05         LACI BLANCHARD,                    C         09/16/22 to    09/22/22

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Compensation
 Death Benefit    09/08/2022     0014286371    274.28   05                                            BLANCHARD,09/16/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        09/22/22
 Death Benefit    09/15/2022     0014289091    822.85   05         LACI BLANCHARD,                    C         09/23/22 to    09/29/22
 Death Benefit    09/15/2022     0014289092    274.28   05                                            BLANCHARD,09/23/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        09/29/22
 Death Benefit    09/22/2022     0014291661    822.85   05         LACI BLANCHARD,                    C         09/30/22 to    10/06/22
 Death Benefit    09/22/2022     0014291662    274.28   05                                            BLANCHARD,09/30/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        10/06/22
 Death Benefit    09/29/2022     0014294474    822.85   05         LACI BLANCHARD,                    C         10/07/22 to    10/13/22
 Death Benefit    09/29/2022     0014294475    274.28   05                                            BLANCHARD,10/07/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        10/13/22
 Death Benefit    10/06/2022     0014297208    822.85   05         LACI BLANCHARD,                    C         10/14/22 to    10/20/22
 Death Benefit    10/06/2022     0014297209    274.28   05                                            BLANCHARD,10/14/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        10/20/22
 Death Benefit    10/13/2022     0014299846    822.85   05         LACI BLANCHARD,                    C         10/21/22 to    10/27/22
 Death Benefit    10/13/2022     0014299847    274.28   05                                            BLANCHARD,10/21/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        10/27/22
 Death Benefit    10/20/2022     0014302315    822.85   05         LACI BLANCHARD,                    C         10/28/22 to    11/03/22
 Death Benefit    10/20/2022     0014302316    274.28   05                                            BLANCHARD,10/28/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        11/03/22
 Death Benefit    10/27/2022     0014304640    822.85   05         LACI BLANCHARD,                    C         11/04/22 to    11/10/22
 Death Benefit    10/27/2022     0014304641    274.28   05                                            BLANCHARD,11/04/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        11/10/22
 Death Benefit    11/03/2022     0014307116    822.85   05         LACI BLANCHARD,                    C         11/11/22 to    11/17/22
 Death Benefit    11/03/2022     0014307117    274.28   05                                            BLANCHARD,11/11/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        11/17/22
 Death Benefit    11/10/2022     0014309637    822.85   05         LACI BLANCHARD,                    C         11/18/22 to    11/24/22
 Death Benefit    11/10/2022     0014309638    274.28   05                                            BLANCHARD,11/18/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        11/24/22
 Death Benefit    11/17/2022     0014312410    822.85   05         LACI BLANCHARD,                    C         11/25/22 to    12/01/22
 Death Benefit    11/17/2022     0014312411    274.28   05                                            BLANCHARD,11/25/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        12/01/22
 Death Benefit    11/23/2022     0014314562    822.85   05         LACI BLANCHARD,                    C         12/02/22 to    12/08/22
 Death Benefit    11/23/2022     0014314563    274.28   05                                            BLANCHARD,12/02/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        12/08/22
 Death Benefit    12/01/2022     0014316788    822.85   05         LACI BLANCHARD,                    C         12/09/22 to    12/15/22
 Death Benefit    12/01/2022     0014316789    274.28   05                                            BLANCHARD,12/09/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        12/15/22
 Death Benefit    12/08/2022     0014319532    822.85   05         LACI BLANCHARD,                    C         12/16/22 to    12/22/22
 Death Benefit    12/08/2022     0014319533    274.28   05                                            BLANCHARD,12/16/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        12/22/22
 Death Benefit    12/15/2022     0014322605    822.85   05         LACI BLANCHARD,                    C         12/23/22 to    12/29/22
 Death Benefit    12/15/2022     0014322797    274.28   05                                            BLANCHARD,12/23/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        12/29/22
 Death Benefit    12/22/2022     0014324937    822.85   05         LACI BLANCHARD,                    C         12/30/22 to    01/05/23
 Death Benefit    01/03/2023     0014328271    274.28   05                                            BLANCHARD,12/30/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        01/05/23
 Death Benefit    12/29/2022     0014327335    274.28   05                                            BLANCHARD,12/30/22 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        01/12/23
 Death Benefit    12/29/2022     0014327334    822.85   05         LACI BLANCHARD,                    C         01/06/23 to    01/12/23
 Death Benefit    01/05/2023     0014329321    822.85   05         LACI BLANCHARD,                    C         01/13/23 to    01/19/23
 Death Benefit    01/06/2023     0014329930    274.28   05                                            BLANCHARD,01/13/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        01/19/23
 Death Benefit    01/12/2023     0014331272    822.85   05         LACI BLANCHARD,                    C         01/20/23 to    01/26/23
 Death Benefit    01/12/2023     0014331273    274.28   05                                            BLANCHARD,01/20/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        01/26/23
 Death Benefit    01/19/2023     0014334141    822.85   05         LACI BLANCHARD,                    C         01/27/23 to    02/02/23
 Death Benefit    01/19/2023     0014334142    274.28   05                                            BLANCHARD,01/27/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        02/02/23

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Compensation
 Death Benefit    01/26/2023     0014336996    822.85   05         LACI BLANCHARD,                    C         02/03/23 to    02/09/23
 Death Benefit    01/26/2023     0014336997    274.28   05                                            BLANCHARD,02/03/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        02/09/23
 Death Benefit    02/02/2023     0014339594    822.85   05         LACI BLANCHARD,                    C         02/10/23 to    02/16/23
 Death Benefit    02/02/2023     0014339595    274.28   05                                            BLANCHARD,02/10/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        02/16/23
 Death Benefit    02/09/2023     0014342352    822.85   05         LACI BLANCHARD,                    C         02/17/23 to    02/23/23
 Death Benefit    02/09/2023     0014342353    274.28   05                                            BLANCHARD,02/17/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        02/23/23
 Death Benefit    02/16/2023     0014344726    822.85   05         LACI BLANCHARD,                    C         02/24/23 to    03/02/23
 Death Benefit    02/16/2023     0014344727    274.28   05                                            BLANCHARD,02/24/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        03/02/23
 Death Benefit    02/23/2023     0014347127    822.85   05         LACI BLANCHARD,                    C         03/03/23 to    03/09/23
 Death Benefit    02/23/2023     0014347126    274.28   05                                            BLANCHARD,03/03/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        03/09/23
 Death Benefit    03/02/2023     0014349655    822.85   05         LACI BLANCHARD,                    C         03/10/23 to    03/16/23
 Death Benefit    03/02/2023     0014349654    274.28   05                                            BLANCHARD,03/10/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        03/16/23
 Death Benefit    03/09/2023     0014352514    822.85   05         LACI BLANCHARD,                    C         03/17/23 to    03/23/23
 Death Benefit    03/09/2023     0014352513    274.28   05                                            BLANCHARD,03/17/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        03/23/23
 Death Benefit    03/16/2023     0014355167    822.85   05         LACI BLANCHARD,                    C         03/24/23 to    03/30/23
 Death Benefit    03/16/2023     0014355166    274.28   05                                            BLANCHARD,03/24/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        03/30/23
 Death Benefit    03/23/2023     0014358017    822.85   05         LACI BLANCHARD,                    C         03/31/23 to    04/06/23
 Death Benefit    03/23/2023     0014358016    274.28   05                                            BLANCHARD,03/31/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        04/06/23
 Death Benefit    03/30/2023     0014360849    822.85   05         LACI BLANCHARD,                    C         04/07/23 to    04/13/23
 Death Benefit    03/30/2023     0014360848    274.28   05                                            BLANCHARD,04/07/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        04/13/23
 Death Benefit    04/06/2023     0014363238    822.85   05         LACI BLANCHARD,                    C         04/14/23 to    04/20/23
 Death Benefit    04/06/2023     0014363237    274.28   05                                            BLANCHARD,04/14/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        04/20/23
 Death Benefit    04/13/2023     0014366065    822.85   05         LACI BLANCHARD,                    C         04/21/23 to    04/27/23
 Death Benefit    04/13/2023     0014366064    274.28   05                                            BLANCHARD,04/21/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        04/27/23
 Death Benefit    04/20/2023     0014368570    822.85   05         LACI BLANCHARD,                    C         04/28/23 to    05/04/23
 Death Benefit    04/20/2023     0014368571    274.28   05                                            BLANCHARD,04/28/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        05/04/23
 Death Benefit    04/27/2023     0014370951    822.85   05         LACI BLANCHARD,                    C         05/05/23 to    05/11/23
 Death Benefit    04/27/2023     0014370952    274.28   05                                            BLANCHARD,05/05/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        05/11/23
 Death Benefit    05/04/2023     0014373484    822.85   05         LACI BLANCHARD,                    C         05/12/23 to    05/18/23
 Death Benefit    05/04/2023     0014373485    274.28   05                                            BLANCHARD,05/12/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        05/18/23
 Death Benefit    05/11/2023     0014375226    822.85   05         LACI BLANCHARD,                    C         05/19/23 to    05/25/23
 Death Benefit    05/11/2023     0014375227    274.28   05                                            BLANCHARD,05/19/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        05/25/23
 Death Benefit    05/18/2023     0014378421    822.85   05         LACI BLANCHARD,                    C         05/26/23 to    06/01/23
 Death Benefit    05/18/2023     0014378422    274.28   05                                            BLANCHARD,05/26/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        06/01/23
 Death Benefit    05/25/2023     0014381303    822.85   05         LACI BLANCHARD,                    C         06/02/23 to    06/08/23
 Death Benefit    05/25/2023     0014381304    274.28   05                                            BLANCHARD,06/02/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        06/08/23
 Death Benefit    06/01/2023     0014384062    822.85   05         LACI BLANCHARD,                    C         06/09/23 to    06/15/23
 Death Benefit    06/01/2023     0014384061    274.28   05                                            BLANCHARD,06/09/23 to
                                                                   LACI BLANCHARD ON BEHALF OF WILLOW C                        06/15/23
 Death Benefit    06/08/2023     0014386280    822.85   05         LACI BLANCHARD,                    C         06/16/23 to    06/22/23

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                 Date Issued   Draft Number   Amount Code        Vendor Name                         Pay Type       Dates of Service

Compensation
 Death Benefit    06/08/2023     0014386279     274.28   05                                            BLANCHARD,06/16/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        06/22/23
 Death Benefit    06/15/2023     0014389310     822.85   05         LACI BLANCHARD,                    C         06/23/23 to    06/29/23
 Death Benefit    06/15/2023     0014389309     274.28   05                                            BLANCHARD,06/23/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        06/29/23
 Death Benefit    06/22/2023     0014391309     822.85   05         LACI BLANCHARD,                    C         06/30/23 to    07/06/23
 Death Benefit    06/22/2023     0014391308     274.28   05                                            BLANCHARD,06/30/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        07/06/23
 Death Benefit    06/29/2023     0014394645     274.28   05                                            BLANCHARD,06/30/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        07/13/23
 Death Benefit    07/13/2023     0014399378     274.28   05                                            BLANCHARD,07/06/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        07/13/23
 Death Benefit    06/29/2023     0014394328     822.85   05         LACI BLANCHARD,                    C         07/07/23 to    07/13/23
 Death Benefit    07/06/2023     0014396452     822.85   05         LACI BLANCHARD,                    C         07/14/23 to    07/20/23
 Death Benefit    07/13/2023     0014399054     548.56   05                                            BLANCHARD,07/14/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        07/27/23
 Death Benefit    07/13/2023     0014399053   1,645.70   05         LACI BLANCHARD,                    C         07/21/23 to    07/27/23
 Death Benefit    07/20/2023     0014401628   1,645.70   05         LACI BLANCHARD,                    C         07/28/23 to    08/03/23
 Death Benefit    07/27/2023     0014404152     548.56   05                                            BLANCHARD,07/28/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        08/10/23
 Death Benefit    07/27/2023     0014404151   1,645.70   05         LACI BLANCHARD,                    C         08/04/23 to    08/10/23
 Death Benefit    08/03/2023     0014406660   1,645.70   05         LACI BLANCHARD,                    C         08/11/23 to    08/17/23
 Death Benefit    08/10/2023     0014409337     548.56   05                                            BLANCHARD,08/11/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        08/24/23
 Death Benefit    08/10/2023     0014409336   1,645.70   05         LACI BLANCHARD,                    C         08/18/23 to    08/24/23
 Death Benefit    08/17/2023     0014411717   1,645.70   05         LACI BLANCHARD,                    C         08/25/23 to    08/31/23
 Death Benefit    08/24/2023     0014414347     548.56   05                                            BLANCHARD,08/25/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        09/07/23
 Death Benefit    08/24/2023     0014414346   1,645.70   05         LACI BLANCHARD,                    C         09/01/23 to    09/07/23
 Death Benefit    08/31/2023     0014417151   1,645.70   05         LACI BLANCHARD,                    C         09/08/23 to    09/14/23
 Death Benefit    09/12/2023     0014421291     822.85   05         LACI BLANCHARD,                    C         09/08/23 to    09/21/23
 Death Benefit    09/07/2023     0014419382     548.56   05                                            BLANCHARD,09/08/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        09/21/23
 Death Benefit    09/21/2023     0014424787     822.85   05         LACI BLANCHARD,                    C         09/22/23 to    10/05/23
 Death Benefit    09/21/2023     0014424786     548.56   05                                            BLANCHARD,09/22/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        10/05/23
 Death Benefit    10/05/2023     0014430319     822.85   05         LACI BLANCHARD,                    C         10/06/23 to    10/19/23
 Death Benefit    10/05/2023     0014430318     548.56   05                                            BLANCHARD,10/06/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        10/19/23
 Death Benefit    10/19/2023     0014435456     822.85   05         LACI BLANCHARD,                    C         10/20/23 to    11/02/23
 Death Benefit    10/19/2023     0014435455     548.56   05                                            BLANCHARD,10/20/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        11/02/23
 Death Benefit    11/02/2023     0014440706     822.85   05         LACI BLANCHARD,                    C         11/03/23 to    11/16/23
 Death Benefit    11/02/2023     0014440707     548.56   05                                            BLANCHARD,11/03/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        11/16/23
 Death Benefit    11/16/2023     0014446029     822.85   05         LACI BLANCHARD,                    C         11/17/23 to    11/30/23
 Death Benefit    11/16/2023     0014446030     548.56   05                                            BLANCHARD,11/17/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        11/30/23
 Death Benefit    11/30/2023     0014450383     822.85   05         LACI BLANCHARD,                    C         12/01/23 to    12/14/23
 Death Benefit    11/30/2023     0014450384     548.56   05                                            BLANCHARD,12/01/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        12/14/23
 Death Benefit    12/14/2023     0014455886     822.85   05         LACI BLANCHARD,                    C         12/15/23 to    12/28/23
 Death Benefit    12/14/2023     0014455887     548.56   05                                            BLANCHARD,12/15/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        12/28/23
 Death Benefit    12/28/2023     0014460417   1,835.12   05         LACI BLANCHARD,                    C         12/29/23 to    01/11/24
 Death Benefit    12/28/2023     0014460418     611.66   05                                            BLANCHARD,12/29/23 to
                                                                    LACI BLANCHARD ON BEHALF OF WILLOW C                        01/11/24

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                                                      RONNIE BLANCHARD         Filed US
                                                                           202259739 03/01/24 Page 7 of 8
                                                               DOB: 10/15/1981          Age: 43

                                                           Pay   Pay
                           Date Issued   Draft Number     Amount Code        Vendor Name                         Pay Type       Dates of Service

Compensation
 Death Benefit              01/11/2024     0014464479     1,835.12   05         LACI BLANCHARD,                    C         01/12/24 to     01/25/24
 Death Benefit              01/11/2024     0014464480       611.66   05                                            BLANCHARD,01/12/24 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                         01/25/24
 Death Benefit              01/25/2024     0014469683     1,835.12   05         LACI BLANCHARD,                    C         01/26/24 to     02/08/24
 Death Benefit              01/25/2024     0014469684       611.66   05                                            BLANCHARD,01/26/24 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                         02/08/24
 Death Benefit              02/08/2024     0014474539     1,835.12   05         LACI BLANCHARD,                    C         02/09/24 to     02/22/24
 Death Benefit              02/08/2024     0014474540       611.66   05                                            BLANCHARD,02/09/24 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                         02/22/24
 Death Benefit              02/22/2024     0014479748     1,835.12   05         LACI BLANCHARD,                    C         02/23/24 to     03/07/24
 Death Benefit              02/22/2024     0014479749       611.66   05                                            BLANCHARD,02/23/24 to
                                                                                LACI BLANCHARD ON BEHALF OF WILLOW C                         03/07/24
  Death Benefit Total                                   118,014.72
Compensation Total                                      118,014.72
Unclassified
 Funeral Expenses           05/24/2022     0014245616     3,000.00   44         SAMART FUNERAL HOME OF HOUMA LLC, C            04/01/22 to   04/01/22
  Funeral Expenses Total                                  3,000.00
Unclassified Total                                        3,000.00
INDEMNITY                      Number Payments          159               Sum of Payments         121,014.72




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                                                                RONNIE BLANCHARD         Filed US
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                                                                        DOB: 10/15/1981         Age: 43

                                                                     Pay   Pay
                                    Date Issued      Draft Number   Amount Code      Vendor Name                 Pay Type   Dates of Service


                             Compensatio
              Unclassified                 Total
                                 n
2022   Mar               -        12,368      12,368
       Apr           3,000             -       3,000
       May               -         2,351       2,351
       Jun               -         4,389       4,389
        Jul              -         5,486       5,486
       Aug               -         4,389       4,389
       Sep               -         5,486       5,486
       Oct               -         4,389       4,389
       Nov               -         4,389       4,389
       Dec               -         5,760       5,760
      Total          3,000        49,004       52,004
2023    Jan              -         4,114          4,114
       Feb               -         4,389          4,389
       Mar               -         5,486          5,486
       Apr               -         4,389          4,389
       May               -         4,389          4,389
       Jun               -         5,760          5,760
        Jul              -         6,309          6,309
       Aug               -         7,680          7,680
       Sep               -         6,034          6,034
       Oct               -         2,743          2,743
       Nov               -         2,743          2,743
       Dec               -         5,190          5,190
      Total              -        59,223       59,223
2024    Jan              -         4,894          4,894
       Feb               -         4,894          4,894
      Total              -         9,787           9,787
Total                3,000       118,015   121,014.72




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